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                         IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

                Plaintiff,

vs.                                                                           No. CR 09-3078 JB

JEREMIAH WRIGHT,

                Defendant.



                             MEMORANDUM OPINION AND ORDER

       THIS MATTER comes before the Court on the Defendant’s Motion to Suppress Any

Statements Made to Law Enforcement Following His Arrest, filed November 19, 2009 (Doc. 28).1

The Court held a hearing on February 11, 2010. The primary issue is whether the Court should

suppress statements, if any such statements exist, Defendant Jeremiah Wright made to law

enforcement officers following his arrest and/or during his detention. For the reasons stated on the

record and for further reasons consistent with those stated, the Court will deny the motion without

prejudice.

       In his motion, Wright argues that, following his arrest, one or more law enforcement officials

interrogated or attempted to interrogate him without advising him of his Miranda2 rights or

permitting him to talk to his attorney. See Motion at 3. He argues that it is unknown whether there



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         Wright erroneously filed the same motion twice. See Defendant’s Motion to Suppress Any
Statements Made to Law Enforcement Following His Arrest, filed November 19, 2009 (Doc. 30).
At the hearing, Wright’s counsel explained the administrative error and stated that he will withdraw
the duplicate motion. See Tr. at 11:12-18 (Montoya).
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           Miranda v. Arizona, 384 U.S. 436 (1966)
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are any statements which the United States will seek to enter. See Motion at 4. The United States

responded that it is not aware of any statements Wright made to law enforcement following his

arrest, and therefore has no such statements which it otherwise plans to use at trial or in any other

proceeding. See Government’s Response to Defendant’s Motion to Suppress Evidence at 1, filed

December 22, 2009 (Doc. 42). The United States contends that the Court cannot suppress something

which does not exist. See Response at 2. At the hearing, Dennis W. Montoya, Wright’s attorney,

represented to the Court that, based upon the United States’ representation in its response that it does

not intend to use any post-arrest statements, he believes it is appropriate for the Court to deny the

motion without prejudice. See Transcript of Hearing at 12:3-7 (taken February 11, 2010)(“Tr.”)

(Montoya).3 Assistant United States Attorney Jon. K. Stanford represented to the Court that he had

been informed that Wright asserted his right to counsel immediately following arrest and that he

knows of no statements that were made before Wright asserted his right to counsel. See Tr. at

12:10-18 (Stanford, Court). Mr. Stanford also represented that, if any statements do come to light,

they will immediately be produced to Mr. Montoya. See Tr. at 12:19-24 (Court, Stanford). Because

at this time there are no known statements that Wright made to law enforcement, the Court will deny

the motion without prejudice to his renewing this motion if some statements come to light. The

Court instructs the United States that, if any post-arrest statements are uncovered and the United

States intends to use such statements, it must immediately make those statements known to Wright.

       IT IS ORDERED that the Defendant’s Motion to Suppress Any Statements Made to Law

Enforcement Following His Arrest is denied without prejudice to him renewing this motion if some

post-arrest statements are subsequently disclosed.


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         The citations to the transcript of the hearing refer to the court reporter’s original, unedited
version. Any final transcript may have slightly different page and/or line numbers.

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                                                      _______________________________
                                                      UNITED STATES DISTRICT JUDGE


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